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				IN RE FEE SCHEDULE FOR STATE BD. OF EXAMINERS OF CERTIFIED COURTROOM INTERPRETERS2016 OK 70Decided: 06/20/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 70, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION.

IN RE: FEE SCHEDULE FOR THE STATE BOARD OF EXAMINERS OF CERTIFIED COURTROOM INTERPRETERS
ORDER
PURSUANT TO the provisions of 20 O.S. § 1707, the Court hereby approves and authorizes the attached Fee Schedule for the State Board of Examiners of Certified Courtroom Interpreters, effective immediately.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 20th day of JUNE, 2016.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.

Fee Schedule of the Oklahoma State Board of Examiners
of Certified Courtroom Interpreters



Fees for Interpreter Credentialing




Application for Provisional Status

$100.00


Application for Certification by Reciprocity

$100.00


Application to Become a Registered Courtroom Interpreter Full Program (Fee includes enrollment in one Two-Day Orientation Training, one Written Examination and one Written Translation Basic Proficiency Assessment)

$200.00


Application to Become a Registered Courtroom Interpreter  Application Only

$100.00


Background Check

$15.00 (or actual cost, whichever is greater)


Two-Day Orientation Training

$100.00


Court Interpreter Written Examination

$ 50.00


Basic Proficiency Assessment Written Translation Test

$ 50.00


Basic Proficiency Assessment -- Oral Proficiency Interview

$ 75.00


Oral Examination

$250.00


Fees for Certificate Renwal and Continuing Education

&nbsp;


&nbsp;

&nbsp;


Annual Certificate Renewal Fee
* Annual certificate renewal shall become effective on January 1, 2016

$ 30.00


Delinquent Payment Fee
*Assessed for failure to renew certificate on or before February 15

$100.00


Continuing Education Penalty Fee
* Assessed for failure to obtain CE hours on or before December 31 of the year in
which they are required
* Annual CE requirements shall become effective on January 1, 2016

$100.00


Continuing Education Suspension Fee

$100.00


Reinstatement after Administrative Revocation or Inactive Status

$100.00


Continuing Education Courses; Training Classes; Workshops  a reasonable Registration Fee may be charged for education and training events sponsored by the Board or the Administrative Office of the Courts









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